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 November 24, 2023
 VIA EMAIL

 Mohawk Energy LLC
 c/o Anna Stewart Whites
 Anna Whites Law Office
 327 Logan Street
 P.O. Box 4023
 Frankfort, KY 40601
 E: annawhites@aol.com

        Re:     Cease and Desist - HBTPower Limited adv. Mohawk Energy LLC

 Dear Ms. Whites,

         We represent HBTPower Limited (“Huobi”). Your client, Mohawk Energy LLC
 (“Mohawk”), entered into the Operating Rights License Agreement with Huobi on May 31, 2022
 (the “License Agreement”) to carry out Bitcoin mining activities at 1004 Gateway Industrials
 Park, Jenkins, KY 41537 (the “Premises”). We understand that you are counsel for Mohawk and,
 as a consequence, have directed this correspondence to you. Please advise us immediately if you
 are no longer counsel for Mohawk.

         As you know, a dispute has arisen between the parties as a consequence of various breaches
 of the License Agreement by Mohawk, including, without limitation, its failure to have a fee simple
 absolute interest in the Premises and, its failure to have the contractually required electricity
 supply. Since these disputes arose, Mohawk has ousted Huobi from the Premises on the pretext of
 non-payment of rent for use of “space lease,” even though the obligation under the License
 Agreement to pay for rent and labor charges had not yet started.

         After ousting Huobi from the Premises, Mohawk unlawfully retained the 4,335 mining
 machines that were delivered to the Premises by Huobi (the “Equipment”). Huobi has received
 evidence that Mohawk is now engaging in negotiations intended to lead to the unauthorized sale
 or disposition of some or all of the Equipment to third parties. Mohawk has not sought, nor has
 Huobi granted, consent for Mohawk to use, sell, dispose, or encumber the Equipment in any way.
 Any use, sale, disposition or encumbrance of the Equipment by Mohawk would constitute
 conversion, misappropriation, and will result in further breaches of the License Agreement leading
 to irreparable harm to Huobi.

       Accordingly, we demand that Mohawk, including its employees, agents, principals,
 immediately cease and desist from any activities involving the unauthorized sale, disposition, or



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 encumbrance of all or some part of the Equipment. Should Mohawk fail to do so, we have been
 instructed to commence immediate legal proceedings to enforce Huobi’s legal rights.

          Nothing herein shall constitute a waiver, release, or otherwise by Huobi in connection with
 any claims or potential claims against Mohawk, those acting for it, and any other potentially liable
 third party, including claims that maybe discovered in Huobi’s ongoing investigation into
 Mohawk’s wrongful conduct, misrepresentations, and deceptive actions. Huobi expressly reserves
 its right to pursue any and all legal and equitable remedies available to it in connection with the
 above referenced actions, not limited to breaches and violations of the License Agreement.

        If you would like to discuss any of the above or are willing to cooperate, please contact the
 undersigned at your earliest convenience.

                                                              Sincerely,



                                                              Harout J. Samra

 CC:
 Palmer G. Vance II (gene.vance@skofirm.com)
 Lindsey Howard Meares (lindsey.meares@skofirm.com)




                                           EXHIBIT 6
